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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


BRISTOL-MYERS SQUIBB COMPANY AND
PFIZER INC.,

       Plaintiffs,                                           C.A. No. 17-374-LPS
                                                             (CONSOLIDATED)
       v.

AUROBINDO PHARMA USA INC., et al.,

       Defendants.


BRISTOL-MYERS SQUIBB COMPANY
AND PFIZER INC.,

                      Plaintiffs,

v.                                                           C.A. No. 17-377-LPS

INVAGEN PHARMACEUTICALS, INC.,

                      Defendant.



                       STIPULATION AND ORDER OF DISMISSAL

       Plaintiffs Bristol-Myers Squibb Company and Pfizer Inc., and Defendant InvaGen

Pharmaceuticals, Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE

as follows:

       1.      All claims and counterclaims, defenses, motions and petitions asserted in this

Action are dismissed without prejudice;


       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;
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       3.      The parties each expressly waive any right to appeal or otherwise move for relief

from this Stipulation and Order;

       4.      This Court retains jurisdiction over the parties for purposes of enforcing this

Stipulation and Order; and

       5.      This Stipulation and Order shall finally resolve the Action between the parties.



 Dated: September 18, 2018                       Respectfully submitted,

 FARNAN LLP                                      SMITH, KATZENSTEIN & JENKINS LLP

 /s/ Michael J. Farnan                           /s/ Eve H. Ormerod
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 Attorneys for Plaintiffs




IT IS SO ORDERED this ______ day of September, 2018.




                                              ______________________________________
                                              The Honorable Leonard P. Stark
